       Case: 1:18-cv-02654 Document #: 1 Filed: 04/12/18 Page 1 of 18 PageID #:1


                                                                                 ffiEcErvHD
                             UNITED STATES DISTRICT COURT                                   APR   12    2019
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION                                   THOMAS G. BRUTON
                                                                                    CLERK, U.S. DISTRICT COURT




                                                                1:18-cv-026il
                                                                Judge: Harry D. Leinenweber
                                                                Magistrate: Sheila M. Finnegan




                  Defendant(s).




               COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

This form complaint is designed to help you, as rl pro se plaintffi state your case in a cleor
manner. Please read the directions and the numbered paragraphs carefully. Some poragraphs
may not apply to you. You may cross out paragraphs that do not apply to you. All references
to uplaintiff'and "defendant" are stated in the singular but will apply to more than one
plaintiff or defendant if that is the nature of the case.

l.         This is a claim for violation of plaintifls civil rights as protected by the Constitution and

           laws of the United States under 42 U.S.C. $$ 1983, I 985, and I 986.

2.         The court has jurisdiction under 28 U.S.C. $$ 1343 and 1367     .



J.         praintirrsru[name    r"   SeqJ         0,fl S L')', lliUWS
If there
       are additional plaintiffs,JiA in the above information as to the lirst-named         plaintiff
and complete the informationfor each additional plaintiff on an extra sheet.
     Case: 1:18-cv-02654 Document #: 1 Filed: 04/12/18 Page 2 of 18 PageID #:2




4.     Defendant,


       E    an   officer or official employed by                                                                             C(, rob


       tr   an individual not employed by a governmental entity.

Ifthere are additional defendants,Jill in the above information as to thefirst-named
defendant and complete the information for each additional defendant on an ertra sheet.

5.     The municipality,-township or county under whose authority                    ,y\^t"rx{:rpg.
                                                                                     I
       acted     is Oh', C o. q0 ?u ^L"\                                                 . o,   to plaintifrs federal




       custom or policy allegations are made at paragraph 7 below.

6.     On or about         i{*"(       rc'Mx at approximately
                            (month,day, year)
       plaintiff was present in the municipality (or unincorporated area) of_

                                                                  , in the County   of     C 6ttk                       ',



       State of I llinois, at           Ll   (
                                                     s.
                                     (identifo location   as
                                                                       V
                                                               precisely as possi
                                                                                                                 t3
       when defendant violated plaintiff s civil rights as follows (Place X in each box that
       applies):

       tr          arrested or seized plaintiff without probable cause to believe that plaintiff had
                   committed, was committing or was about to commit a crime;
       D           searched plaintiff or his property without a warrant and without reasonable cause;
       tr          used excessive force upon plaintiff;

      f            failed to intervene to protect plaintiff from violation of plaintiff s civil rights by
                   one or more other defendants;
      X
     ,W-           failed to provide plaintiff with needed medical care;
                   conspired together to violate one or more of plaintiff s civil rights;
      tr           Other:
     Case: 1:18-cv-02654 Document #: 1 Filed: 04/12/18 Page 3 of 18 PageID #:3




7.     Defendant officer or official acted pursuant to a custom or policy ofdefendant

       municipality, county or township, which custom or policy is the following: (Leave blank

       if no custom or policy is alleged):           'YG.
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                                              rhoie crimes, sirecifically:




9.     (Place an X in the box that applies. If none applies, you may describe the criminal
       proceedings under "Other") The criminal proceedings

        !     are stillpending.

        tr    were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.l

        fl    Plaintiff was found guilty of one or more charges because defendant deprived me of            a


        fair trial as follows




        tr   Other:



        lExamples
                    of termination in favor of the plaintiffin a manner indicating plaintiff was innocent
may include   ajudgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi order.
         Case: 1:18-cv-02654 Document #: 1 Filed: 04/12/18 Page 4 of 18 PageID #:4




           10.    Plaintifffurther alleges as follows: (Describe what happened that you believe
           supports your claims. To the e:dent possible, be specifrc as to your own actions and
          the actions ofeach defendant)




I   l.     Defendant acted knowingly, intentional ly, wi I lful ly and mal iciously.

12.        As a result of defendant's conducl plaintiffwas injured as follows:




13.        Plaintiffasks thatthe case be tried by   ,:uW./V",              trNo
       Case: 1:18-cv-02654 Document #: 1 Filed: 04/12/18 Page 5 of 18 PageID #:5




 14.     Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such

         as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

         and/or any other claim that may be supported by the allegations of this complaint.




         WHEREFORE, plaintiff asks for the following relief:

         A.         Damages to compensate for all bodily harm, emotional harm, pain and suffering,

                    loss of income, loss of enjoyment of life, property damage and any other injuries

                    inflicted by defendant;

         B.         Z   (Place   X in box tf you are seeking punitive damages.) Punitive damages

                    against the individual defendant; and

         C.         Such injunctive, declaratory, or other relief as may be appropriate, including

attorney's fees and reasonable             nses as authorized by 42 U.S.C.
                                                             -6
         Plaintiff s signature:

         Plaintiff s name (print clearly or type):

         Plaintiff s mailing address:




         Plaintiff s email address (if you prefer to be contacted by email): 5,.,1', I l;u o,s       ) l)vlQ Yn"o)l,tV

15.     Plaintiff   has previously    filed a case in this district. tr   Y"rA"
        If yes, please list the cases below.

Any additional plaintffi must sign the complaint and provide              the same information as   thetirst
plaintiff, An additional signature page may be added

                                                        5
                 Case: 1:18-cv-02654 Document #: 1 Filed: 04/12/18 Page 6 of 18 PageID #:6

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                                                UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF ILLINOIS


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                                  f'ffi'tr
                                                                                     Magistrate Judge:

                                  Defendant

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                                           UNITED STATES DISTRICT COURT
                                           NORTHERN DISTRICT OF ILLINOIS

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Chicago Police Department - lncident Report                                                                             J8187915




         CFD First Aid          Yes                               Minor
         Given?                                                   University Ot Chicago
         Responding   Unit:     AMBULANCE   4                     Hospital
                                                Physician Name: MCKEE

         Tvpe                                   Weapon Used                                Other Weapon Used
         Abrasions                              Hand/Feet/Teeth/Etc                       Other - Hands




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         Victim lnformation Provided                                                              Flash Message Sent ? No



         BWC INCIDENI- #06868 lN SUMMARY, R/OS RESPONDED Tr) A CHECK THE WELL BEING AT ABOVE TIME AND LOCATION.
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I    I THOI/PSON (VlCTrM) RECETVED AN ABRASTON (SCRATCH) I O THE LEFT S|DE OF HrS FACE By ANOTHER 7 YEAR OLD
[uJ I STUITENT WHILE lN THE LUNCH ROOM. MASON THOMPSON lVlCTlM) RELATED TI{AT OTHER CHILDREN FROM HIS
l= I CLASS WERE TRYING TO GET THEM TO F|GHT. SEQUOTA WTLLTAMS (PARENT/GUARD|AN) WANTED DOCUMENTAT|ON.
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lft I wtlLtnus (pARENT/GUARDTAN). vrcrM AND MoTHER AirE rN THE wArlNrG AREA, wAtlNG To BE sEEN tN THE
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i _.-j Occurrence Dale: 16 March 201812:1i
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       Name: WILLIAMS, Sequoia
       Res:                                                                                                                           23 Years - Approx.
                   537 E 43rd St
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Dear ParenUGuaidinr.n (Pipoens. Moriah),

Your student engaged in inappropriate behavior and has been assigned an intervention and/or consequence under the CPS Student Code of
Conduct ("SCC"; find online:      htip://cos.eciu/Paoes/StudenlBC5l,urcessfudentcod                        .



STUDENT NAME:                                                             SCHOOL: Carter        G Woodson South Elementarv School(6

S-TUDENT     lD NUMBER:         flp'                                      STUDENT DOB/AGE (GRADE):              '


INCIDENTDATE:           31161201B                                         MISCONDUCT/INCIDENTREPORT                  #   1494343
SCC     INFRACTION: 3-06                                                  INCIDENTLOCATION:              Cafeteria

NARRATIVE (do not include other stu.dents' names):

During the lunch period Mason sustained a scratch from the boitom of his eye to his cheek. Mason took the hat of student A. Student A then
scratched Mason in the face. Mason reporied it to Mr. Rinrmer and Mr. Rimmer alerted AP Holland and Mason was brought to the main office.
The school clerk called Mason's mom. The police were called k: the sctrool per'rhe parent's request.




II.JTERVENTION/CONSEQUENCE ASSIGII.IED:

   tr   lnitructive/Corrective Res.ponse:                             I   Restorative Practices:

        Teacher/StudenURes/Adm Conference                                    Restorative Conversations
  .'

   E Detention
   E    Suspension:
              D    Oulof-school: 0 day(s) starting on , retuming on
              EI   ln-school: 0 day(s) starting on , returning on

Suspension Duration



Oui of School Susperision Justification:

   O Chronic or extreme interruption to the other studenfs partir:ipation in school and the previous interventions have been attempted:


  O Aftendance pr"."ni. imminent endangerment to students or staff

Additionel Disciplinary Referrals:

   E Referral for Disciplinary Reassignment (Contact the Netwcrk Ofirce)
   O Request for Expulsion Hearing
   tr District   lntervention Program Referral (AIso includes the SMART Program)

 POLICE NOTIFICATION:                  gYes         ENo
                           Yes (P.D. RD# )                            ElNO
I%renUGuardian Notified of Misconduct by:

  D
  fl    Emailed on 1/1/0001 to

  D Hand delivered on 1/1/000'1 to




;;;:,,",:;"::.          ;:. :";:;;:           :::;.;";    ;:;;;,,     ;";:=;:;;::",        ;,*,.FA*E           Q73/s53.3223) .r y.ur Ne'w.rk
yow sehool has requested an expulsion hearing or a disciplinary reassignment and you would like the decision reconsidered,'f
 contact   your    Flefwiork.

 Completed By (name and title):.                                                        Date:




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Case: 1:18-cv-02654 Document #: 1 Filed: 04/12/18 Page 14 of 18 PageID #:14




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          Case: 1:18-cv-02654 Document #: 1 Filed: 04/12/18 Page 15 of 18 PageID #:15
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                          Summary of Gare Document
                                Cover Sheet


Fqr the receiving provider/organizatian                       :


You are receiving this document begause the below patient has been referred
!.9
    ygyl office fo1 gare, follow up and/or consultation after their recent stay at
thg University of Chicago Medicine. This document is being sent in ordei to
sflare essential clinical information important to the transfer of patient care and
to comply with cMS Meaningful Use stage 2 Transitions of care
requirements.



                     Patient Name: Thompson, Mason
                     Medical Record Number: B6TSggg
Fgr the patient:

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                                                                                                                                                   A;     L''
                                               The Carter G. Woodson School
                                                                      4414 S. Evans
                                                                                                                                                                   /
                                                                  Chicago, Illinois 60653
                                                                     Tel.    (773) 535-]t2g}

                          Pnncipal: Tamara Liuiejohn                                       Assistant Principal: Jerome Holland


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Teacher Conference with Student                                  -   Date (s)
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Summary of Problem: t'\st'*"'                                .




Conference Notes:
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Administrative                   Signut r"- i*"u            u"*..''.--r",   #.i"           ':-i'.'i rili,+;"u:,..
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Other (Title)                                             Signature
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          Case: 1:18-cv-02654 Document #: 1 Filed: 04/12/18 Page 17 of 18 PageID #:17




             Chicooo
             Public"                              _     CHICAGO PUBLIC
                                                  Department
                                                                            SCHOOLS
                                                               of Finance-nisf lIanalement-
             Schools                                42 W. Madison, Chicago, lllinois
                                                                                     6OOOj
                                                          Tetephone 773-153-331 o
   Date:     Tuesday, April 10,201g


   Mason Thompson
   537 W 43rd ptace Apt 2W
   Chicago, tL 60609


   RE:
                                      Mason Thompson
  School:                             Carter G Woodson South Elementary
                                                                        School
  Date of lncident:                   Friday, March 16, 2018
  lncident Number:                    1494343


  Dear ParenUGuardian:

  This will confirm that we have received
                                               a report of the above incident. lncident
  internal documents which we oo                                                          repofts are
                                      noi.r,"r"-i*'; ;;i;".y issues.
  lf your child does not have private
                                        health insurance to cover medicar expenses
 from this incident, he or she        ."vt"
 AllKids' lf you would like morelnr*r"tion toiiiti*i.'ii"" and low
                                          Jigiote
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                                                                                           insurance,
 lllinois Application for Benefits Eligibiiiiv
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                                                                          please  visit the  State of
                                               (ABE) *"urii" ,i'https://abe.iltinois.gov or ca,
 lllinoisDepafimentofHumanSd;;;;at1-800-843-6154'                                                  the

lf you wish to submit a bodiry injury
                                       riabirity craim for consideration, please
this letter along with any rrripohin'g                                           send a copy of
                                        dlcumentation to the Board,s claim
                                                                               administrator at:
Cannon Cochran Management Services,
114 South Racine eveni,e, inl
                                                  lnc. (CCMSI)
                                     r'ioo.
Chicago, lL 60602
Main: 312455-1612
Fax:312455-1659

Each claim submitted for consideration
                                       for payment will be individually evaluated.
reserves the right to deny any claim.                                                         cps
Sincerely,


Piolz hr^^^----    -   ,




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        Case: 1:18-cv-02654 Document #: 1 Filed: 04/12/18 Page 18 of 18 PageID #:18                               Yt;uil             ?
                                            .             Deparlment of policy and procedures
                                                   Student Safety Transfer Authorization Form
                                  Enrollmentondrronsferofstudents     PolicyconbereviewedinsectionT02.T,EoardRepoftlo-0623-p010g-0827-po2


      Student Name:           Mason Thompson
                                                                                   Safety Transfer Request Received
   Student tO     t,t   umUerlScfrooillossaT60
                                                                                   !3fg;04/10/2018
   ld.dress:t{_r5
   Telephone : 708-802-3860
                                   SW                                              By: Adam King,      Network SEL Specialist


              Individualized Education plan

   PargnUGuardian Name/Oate:
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                                                        documeniation is attached to                    tt-      transfer
  !    Listing of violent occurrences, including
  f] Violdnce Hotline         narrative
       Other fl6i6s6t#litr,ql4;S

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  documeniation and           E    agrees       !    disagrees with the request. lf principal disagrees,
                                                                                                         explain reasons:

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 documentation and            n    agrees   !        disagreis with tne request. lf principal disagrees, explain reasons:

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    approves the safety transfer request effeciive
  E cannot reach consensus. ri                      u"                   l"r'1".r-
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        ng Principal NameischooUDate:
                                                                              Principal Signature/Date:
Receiving Principal NamE/School/DatE

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